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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION
STATE OF NEBRASKA, et al.,                       )
                                                 )
          Plaintiffs,                            )
                                                 )
    v.                                           )        No. 4:22CV1040 HEA
                                                 )
JOSEPH R. BIDEN, JR., et al.,                    )
                                                 )
          Defendants.                            )
                                                 )
                                                ORDER

         IT IS HEREBY ORDERED that the hearing on Plaintiff's MOTION for Temporary

Restraining Order [Doc # 4] set for hearing on October 4, 2022, is VACATED.

         IT IS FURTHER ORDERED that Defendants’ response to Plaintiff’s Motion for a

Preliminary Injunction is due Friday, October 7, 2022, and Plaintiffs’ reply is due Tuesday, October

11, 2022.

         IT IS FINALLY ORDERED that oral argument on Plaintiff’s Motion for Preliminary

Injunction is set for October 12, 2022, at 10:30 a.m. in the courtroom of the undersigned.

         Dated this 3rd day of October, 2022.


                                                     __________________________________
                                                        HENRY EDWARD AUTREY
                                                     UNITED STATES DISTRICT JUDGE
